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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                              )
                                                              )
In re:                                                        ) Chapter 7
                                                              )
ALEXANDER E. JONES,                                           ) Case No. 22-33553 (CML)
                                                              )
                         Debtor.                              )
                                                              )

                CONNECTICUT FAMILIES’ STATEMENT IN
          SUPPORT OF THE TRUSTEE’S MOTION FOR ENTRY OF AN
    ORDER AUTHORIZING THE WINDDOWN OF FREE SPEECH SYSTEMS, LLC

         The Connecticut Families,1 as creditors and parties in interest in the above-captioned case

(the “Jones Case”), submit this statement in support of the Trustee’s Motion for Entry of an

Order Authorizing the Winddown of Free Speech Systems, LLC (the “Motion”) [Docket No. 829]

filed by the chapter 7 trustee appointed in the Jones Case (the “Trustee”). In support of the

Motion, the Connecticut Families respectfully state as follows:

         1.     The Connecticut Families fully support the Trustee’s efforts to sell Jones’s2

assets—an essential and long-awaited step in providing distributions to the Sandy Hook

Families3 after more than a decade of abuse by Jones. As the sole owner of Free Speech

Systems, LLC (“FSS”), the equity interests are an asset of the Jones chapter 7 estate. The

Trustee is the appropriate party to liquidate FSS’s assets and the relief sought in the Motion

represents the best path forward in the Jones Case. Accordingly, the Connecticut Families

wholly support the relief requested by the Motion.

1
    The “Connecticut Plaintiffs” are Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian
    Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto,
    Jillian Soto-Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.
2
    “Jones” refers to Alexander E. Jones, the above-captioned debtor.
3
    The “Sandy Hook Families” refers to the Connecticut Families and the Texas Families. The “Texas Families”
    are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and theEstate of Marcel Fontaine


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        2.      Upon the liquidation of FSS, the Connecticut Families continue to believe that

any sale proceeds should be distributed pro rata to the Sandy Hook Family members in

accordance with their allowed claims against FSS.                 As we have previously stated, the

Connecticut Families do not believe that any one creditor should receive outsized recovery or

preferential treatment. See Connecticut Families’ Statement in Support of Trustee’s Emergency

Motion [Docket No. 725] at ¶¶ 4–5. Instead, distributions should be made fairly and equitably

among all creditors.

        3.      The Texas Families’ motion seeking immediate turnover of FSS’s assets for the

Texas Families’ sole benefit (the “Turnover Motion”) remains an affront to this notion and an

unnecessary sideshow. The fact that the Texas Families have not yet dismissed the Turnover

Motion is beyond troubling, and suggests a continued belief on the part of the Texas Families

that they—and they alone—should be entitled to recover from FSS, while the Connecticut

Families should receive nothing. After all, that was the very purpose of their filing the Turnover

Motion. Contrary to the assertions in the Texas Families’ Statement,4 the Texas Families have

not engaged at all with the Connecticut Families with respect to resolving how recoveries from

the Jones estate will be distributed. Rather, a proposal by the Connecticut Families for allocating

recoveries from FSS and Jones was ignored. Nonetheless, the Connecticut Families remain

ready and willing to resolve issues regarding the appropriate allowed claim amounts of the Sandy

Hook Families and the resulting allocations of liquidation proceeds so that the Sandy Hook

Families can, at long last, begin to recover from Jones and FSS for the damages they inflicted.




4
    The “Texas Families Statement” refers to the Statement of the Texas Plaintiffs in Support of the Chapter 7
    Trustee’s Motion for Entry of an Order Authorizing the Winddown of Free Speech Systems, LLC [Docket No.
    850].

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        4.      Moreover, the Jones Objection5 should be overruled.              Nothing in the Jones

Objection can prevent the Trustee from selling intellectual property (including social media

accounts) that belong to FSS—since those assets never belonged to Jones personally.                As to

Jones’s personal social media accounts, the Motion makes clear that “the IP Assets to be

auctioned do not include the individual or personal intellectual property of Alex Jones that may

be owned by him or the chapter 7 estate.” See Mot. ¶ 5. To be sure, the Connecticut Families

assert that any intellectual property belonging to Jones personally, including his social media

accounts, is property of the chapter 7 estate that can and should be liquidated. However, that

issue is not raised by the Motion, and, in any event, may require factual discovery to resolve,

including on the extent to which Jones’s personal social media accounts have historically been

operated by FSS employees and used primarily for the benefit of FSS (as the Connecticut

Families understand to be the case). This issue can be fully briefed and litigated if needed,

including in connection with any subsequent request to approve a sale of intellectual property

belonging to Jones personally.

        5.      Finally, for the avoidance of doubt, the Connecticut Families reserve all rights in

connection with any sale of FSS or FSS’s assets (including the FSS IP). In particular, the

Connecticut Families reserve, and do not waive, any and all claims, including claims based on

the doctrines of alter ego or successor liability, against a potential purchaser of FSS’s assets that

continues to utilize those assets with, or in any way for the direct or indirect benefit of, Jones.




5
    “Jones’s Objection” refers to the Debtor’s Limited Objection to Trustee’s Motion for Entry of an Order
    Authorizing the Winddown of Free Speech Systems, LLC [Docket No. 849].

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Dated: September 23, 2024             Respectfully submitted,


                                          /s/ Ryan E. Chapple
                                          CAIN & SKARNULIS PLLC
                                          Ryan E. Chapple
                                          State Bar No. 24036354
                                          303 Colorado Street, Suite 2850
                                          Austin, TX 78701
                                          Telephone: (512) 477-5000
                                          Fax: (512) 477-5011
                                          E-mail: rchapple@cstrial.com
                                          KOSKOFF KOSKOFF & BIEDER, PC
                                          Alinor C. Sterling (admitted pro hac vice)
                                          350 Fairfield Avenue
                                          Bridgeport, CT 06604
                                          Telephone: (203) 336-4421
                                          E-mail: asterling@koskoff.com
                                          PAUL, WEISS, RIFKIND,
                                          WHARTON & GARRISON LLP
                                          Kyle J. Kimpler (admitted pro hac vice)
                                          Paul Paterson (admitted pro hac vice)
                                          Leslie Liberman (admitted pro hac vice)
                                          Vida J. Robinson (admitted pro hac vice)
                                          1285 Avenue of the Americas
                                          New York, NY 10019-6064
                                          Telephone: (212) 373-3000
                                          Fax: (212) 757-3990
                                          E-mail: kkimpler@paulweiss.com
                                                  ppaterson@paulweiss.com
                                                  lliberman@paulweiss.com
                                                  virobinson@paulweiss.com

                                          Co-Counsel to the Connecticut Families




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                               CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Statement has been served
on counsel for the Debtor, the Debtor, and all parties receiving or entitled to notice through
CM/ECF on this 23rd day of September, 2024.

                                                  /s/ Ryan E. Chapple
                                                  Ryan E. Chapple




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